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                          UNITED STATES DISTRICT COURT
11
            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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                                          Case No. 3:09-CV-05718-RS
13   NETLIST, INC.,
                                          [PROPOSED] ORDER GRANTING
14        Plaintiff,                      ADMINISTRATIVE MOTION TO
                                          CONSIDER WHETHER ANOTHER
15               v.                       PARTY’S MATERIAL SHOULD BE
                                          SEALED (Dkt. 268)
16   GOOGLE LLC,
                                          Judge: Hon. Richard Seeborg
17        Defendant.

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                                                               Case No. 3:09-CV-05718-RS
                                           [PROPOSED] ORDER GRANTING MOTION TO SEAL
      Case 3:09-cv-05718-RS Document 284-1 Filed 05/24/22 Page 2 of 2




 1                                     [PROPOSED] ORDER

 2         Before the Court is Netlist’s Administrative Motion to Consider Whether Another Party’s

 3 Material Should Be Sealed (“Motion”) (Dkt. 268). Having considered the Motion, supporting

 4 declaration, and other papers on file, and good cause having been found, the Court ORDERS as

 5 follows:

 6   Document Sought to      Party Claiming         Court’s Ruling on Motions to Seal
     Be Sealed               Confidentiality
 7   Exhibit 3               Google                 GRANTED as to redacted portions at:
 8                                                  82:1-17, 82:26-28, 83:4-9, 83:11

 9
     Exhibit 6               Google                 GRANTED as to redacted portions at:
10                                                  pg. 1 and pg. 2

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     Exhibit 7               Google                 GRANTED as to redacted portions at:
12                                                  pg. 1
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     Exhibit 10              Google                 GRANTED as to redacted portions at:
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                                                    pg. 1 and pg. 2
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17         SO ORDERED.

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19 DATED:
                                                    HON. RICHARD SEEBORG
20                                                  United States District Judge

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                                                                        Case No. 3:09-CV-05718-RS
                                                    [PROPOSED] ORDER GRANTING MOTION TO SEAL
